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                                                                  1   REED E. SCHAPER (SBN 082792)
                                                                      rschaper@hkemploymentlaw.com
                                                                  2   DEREK K. ISHIKAWA (SBN 270275)
                                                                      dishikawa@hkemploymentlaw.com
                                                                  3   HIRSCHFELD KRAEMER LLP
                                                                      233 Wilshire Boulevard, Suite 600
                                                                  4   Santa Monica, CA 90401
                                                                      Telephone: (310) 255-0705
                                                                  5   Facsimile: (310) 255-0986
                                                                  6   Attorneys for Defendant
                                                                      VITAS HEALTHCARE CORPORATION
                                                                  7   OF CALIFORNIA
                                                                  8
                                                                                            UNITED STATES DISTRICT COURT
                                                                  9
                                                                                          CENTRAL DISTRICT OF CALIFORNIA
                                                                 10

                                                                 11
                                                                      ADENIKE JOSEPH,                            Case No.
H IRSCHFELD K RAEMER LLP




                                                                 12                                              [State Court Case No. 19STCV16124]
                           ATTO RNEY S AT LAW




                                                                                      Plaintiff,
                                                SANTA MO NI CA




                                                                 13                                              NOTICE OF REMOVAL TO
                                                                      vs.                                        FEDERAL COURT TO UNDER 28
                                                                 14                                              U.S.C. § 1441 (A)(B); 28 U.S.C. § 1332
                                                                      VITAS HEALTHCARE
                                                                 15   CORPORATION OF                             [Filed Concurrently with Civil
                                                                      CALIFORNIA, a Delaware                     Coversheet; Certificate of Interested
                                                                 16   corporation; and DOES 1 through            Parties; and Declarations of Derek
                                                                      20, inclusive,                             Ishikawa, Eliana Brown, and Dean
                                                                 17                                              Robertson]
                                                                                      Defendants.
                                                                 18                                              Complaint Filed: May 8, 2019
                                                                 19
                                                                 20   TO THE CLERK OF THE COURT:
                                                                 21         PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. sections 1441(a), (b)
                                                                 22   and 1446, Defendant VITAS HEALTHCARE CORPORATION OF CALIFORNIA
                                                                 23   (“Defendant” or “VITAS”) hereby removes the above-entitled action from the
                                                                 24   Superior Court of California in and for the County of Los Angeles to the United
                                                                 25   States District Court for the Central District of California.
                                                                 26                                JURISDICTION AND VENUE
                                                                 27         1.     Defendant asserts that this is a civil action over which this Court has
                                                                 28   original subject matter jurisdiction under 28 U.S.C. § 1332, and removal is proper

                                                                      NOTICE OF REMOVAL TO FEDERAL COURT                                           4838-3084-9432
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                                                                  1   under 28 U.S.C. § 1441 in that it is a civil action between citizens of different states
                                                                  2   and the amount in controversy exceeds the sum of $75,000, exclusive of interest
                                                                  3   and costs.
                                                                  4         2.        This Court is in the judicial district and division embracing the place
                                                                  5   where the state court case was brought and is pending. Thus, this Court is the
                                                                  6   proper district court to which this case should be removed. 28 U.S.C. §§ 1441(a)
                                                                  7   and 1446(a).
                                                                  8                              PROCEDURAL BACKGROUND
                                                                  9         1.        On May 8, 2019, Plaintiff Adenike Joseph (“Plaintiff”) filed a civil
                                                                 10   action in the Superior Court of the State of California for the County of Los
                                                                 11   Angeles, entitled ADENIKE JOSEPH v. VITAS HEALTHCARE
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                                                                 12   CORPORATION OF CALIFORNIA and DOES 1 through 20, inclusive, Case No.
                           ATTO RNEY S AT LAW
                                                SANTA MO NI CA




                                                                 13   19STCV16124 (“State Court Action.)
                                                                 14         2.        On May 9, 2019, Plaintiff served Defendant’s agent for service of
                                                                 15   process a copy of the summons and complaint. A true and correct copy of all
                                                                 16   process, pleadings, and orders served on Defendant in the State Court Action are
                                                                 17   attached as Exhibit (“Exh.”) A to the Declaration of Derek Ishikawa (“Ishikawa
                                                                 18   Decl.”), ¶ 3.
                                                                 19         3.        On June 6, 2019, Defendant filed an Answer to Plaintiff’s Complaint
                                                                 20   in the State Court Action in the Superior Court of California, County of Los
                                                                 21   Angeles. (Ishikawa Decl., ¶ 4, Exh. B).
                                                                 22         3.        As required by 28 U.S.C. § 1446(d), Defendant is providing written
                                                                 23   notice of the filing of this Notice of Removal to Plaintiff, and is filing a copy of this
                                                                 24   Notice of Removal with the Clerk of the Superior Court of the State of California,
                                                                 25   in and for the County of Los Angeles. (Ishikawa Decl., ¶ 5, Exh. C).
                                                                 26                               DIVERSITY OF CITIZENSHIP
                                                                 27         4.        Plaintiff’s Citizenship. As alleged in the Complaint, Plaintiff is a
                                                                 28   resident of the County of Los Angeles, California. (Complaint ¶ 2.) For diversity
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                                                                      NOTICE OF REMOVAL TO FEDERAL COURT
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                                                                  1   purposes, a person is a “citizen” of the state in which he or she is domiciled.
                                                                  2   Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983).
                                                                  3   Residence is prima facie evidence of domicile. State Farm Mutual Auto Ins. Co. v.
                                                                  4   Dyer, 19 F. 3d 514, 520 (l0th Cir. 1994). Accordingly, Plaintiff is a citizen of the
                                                                  5   State of California.
                                                                  6         5.     VITAS’ Citizenship. VITAS is a corporation organized under the laws
                                                                  7   of the State of Delaware. (Declaration of Dean Robertson [“Robertson Decl.”], ¶
                                                                  8   3). Corporations are citizens of: (1) the state in which they are incorporated and
                                                                  9   (2) the state in which they maintain their “principal place of business.” 28 U.S.C. §
                                                                 10   1332(c)(1). The U.S. Supreme Court adopted the “nerve center” test to determine a
                                                                 11   corporation’s “principal place of business,” which “normally will be the place
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                                                                 12   where the corporation maintains its headquarters—provided that the headquarters is
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                                                                 13   the actual center of direction, control, and coordination, i.e., the “nerve center,” and
                                                                 14   not simply an office where the corporation holds its board meetings.” Hertz v.
                                                                 15   Friend, 130 S. Ct. 1181, 1192 (2010). At the time of the filing of the Complaint in
                                                                 16   this case and as of today, VITAS maintains its headquarters in Miami, Florida at
                                                                 17   201 South Biscayne Boulevard, Suite 400, Miami, Florida 33131. (Robertson
                                                                 18   Decl., ¶ 4). At the time of the filing of the Complaint in this case and as of today,
                                                                 19   the large majority of the officers of VITAS resides and works in the surrounding
                                                                 20   areas near Florida and, when decisions are made about the business of VITAS, such
                                                                 21   decisions are made by those officers in Miami, Florida. (Id.). As a result, VITAS
                                                                 22   is a citizen of Delaware and Florida.
                                                                 23         6.     Doe Defendants. Although Plaintiff has also named fictitious
                                                                 24   defendants “DOES 1-20,” “[f]or purposes of removal under this chapter, the
                                                                 25   citizenship of defendants sued under fictitious names shall be disregarded.” 28
                                                                 26   U.S.C. § 1441(a); see also Fristos v. Reynolds Metals Co., 615 F.2d 1209, 1213
                                                                 27   (9th Cir. 1980) (unnamed defendants are not required to join in a removal petition).
                                                                 28   Thus, the existence of “Doe” defendants does not deprive the Court of jurisdiction.
                                                                                                                 3
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                                                                  1         7.     Diversity. Complete diversity of citizenship exists under 28 U.S.C. §§
                                                                  2   1332 inasmuch as Plaintiff is a citizen of the State of California and the only named
                                                                  3   Defendant, VITAS, is a citizen of the states of Delaware and Florida. There is
                                                                  4   accordingly complete diversity of citizenship.
                                                                  5                  AMOUNT IN CONTROVERSY EXCEEDS $75,000
                                                                  6         8.     A defendant may remove a case to federal court pursuant to 28 U.S.C.
                                                                  7   § 1332(a) on the grounds that the amount in controversy exceeds $75,000,
                                                                  8   exclusive of interest and costs, even when the plaintiff fails to set forth any specific
                                                                  9   damage amount. See, e.g., Cohn v. PetsMart, Inc., 281 F.3d 837, 839-40 (9th Cir.
                                                                 10   2002). Removal is appropriate when it is more likely than not that the amount in
                                                                 11   controversy exceeds the jurisdictional requirement. Id. at 839 (setting forth the
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                                                                 12   “preponderance of the evidence” standard).
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                                                                 13         9.     The State Court Action involves Plaintiff’s claims against Defendant
                                                                 14   for: (1) race discrimination in violation of the Fair Employment & Housing Act
                                                                 15   (“FEHA”); (2) retaliation in violation FEHA; (3) failure to prevent discrimination
                                                                 16   and retaliation in violation of FEHA; (4) retaliation in violation of Labor Code
                                                                 17   section 1102.5; (5) retaliation in violation of Labor Code section 98.6; (6)
                                                                 18   retaliation in violation of Health and Safety Code section 1278.5; (7) declaratory
                                                                 19   relief; and (8) wrongful constructive termination in violation of public policy.
                                                                 20   Plaintiff alleges that as a result of Defendant’s actions, Plaintiff suffered: (1)
                                                                 21   “general and special damages, including severe and profound pain and emotional
                                                                 22   distress, anxiety, depression, headaches, tension, and other physical ailments, as
                                                                 23   well as medical expenses, expenses for psychological counseling and treatment, and
                                                                 24   past and future lost wages and benefits,” and is entitled to “general damages for
                                                                 25   emotional and mental distress and aggravation in a sum in excess of the
                                                                 26   jurisdictional minimum of this Court.” (Complaint ¶¶ 22-24.)
                                                                 27         10.    Plaintiff prays for relief that includes: (1) compensatory damages
                                                                 28   including lost wages, earnings, commissions, retirement benefits, and other
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                                                                  1   employee benefits, and all other sums of money, together with interest on these
                                                                  2   amounts”; (2) “special damages; and for general damages for mental pain and
                                                                  3   anguish and emotional distress”; (3) punitive damages; (4) attorneys’ fees; (5)
                                                                  4   interest; (6) costs of suit; (7) civil penalties that total no less than $45,000; (8) post-
                                                                  5   judgment interest; and (9) further relief as the Court deems just and proper.
                                                                  6   (Complaint, Prayer for Relief, p. 19, ¶¶ 1-10).
                                                                  7          11.    Calculations. As demonstrated below, the allegations in the Complaint
                                                                  8   make it more likely than not that the amount in controversy exceeds $75,000. In
                                                                  9   calculating alleged damages, though Defendant denies that it is liable to Plaintiff in
                                                                 10   any amount or manner, Defendant has assumed each of Plaintiff’s claims would be
                                                                 11   successful for purposes of calculating the amount in controversy, particularly in
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                                                                 12   light of the fact that the Complaint does not provide more precise calculations. See
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                                                                 13   Coleman v. Estes Express Lines, Inc., 730 F. Supp. 2d 1141, 1149 (C.D. Cal., 2010)
                                                                 14   (“[C]ourts have assumed a 100% violation rate . . . in calculating the amount in
                                                                 15   controversy when the complaint does not allege a more precise calculation.”).
                                                                 16          12.    Although Defendant denies that Plaintiff was damaged in any amount,
                                                                 17   assuming arguendo that Plaintiff prevails at trial, there is a possibility that she will
                                                                 18   be awarded over $75,000 in damages. There have been, in recent years, several
                                                                 19   verdicts in discrimination/wrongful termination cases (similar to the claims Plaintiff
                                                                 20   asserts in the State Court Action) entered in favor of plaintiffs in California where
                                                                 21   the awarded damages exceeded $75,000. See Wysinger v. Automobile Club of
                                                                 22   Southern California, (2008) 157 Cal. App. 4th 413; Lopez v. Bimbo Bakeries USA,
                                                                 23   Inc., 2009 WL 1090375; Dickinson v. Allstate Insurance Company 2013 WL
                                                                 24   1695574.
                                                                 25          13.    Lost Wages. Pursuant to all eight of her causes of action, Plaintiff
                                                                 26   alleges that she has suffered and continues to suffer actual damages, including
                                                                 27   “medical expenses, expenses for psychological counseling and treatment, and past
                                                                 28   and future lost wages and benefits” and prays for damages to compensate for these
                                                                                                                   5
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                                                                  1   alleged losses. (Complaint ¶¶ 22-25, 33, 41; Prayer for Relief, p. 19, ¶¶ 1-10). As
                                                                  2   detailed in the calculations below, Plaintiff’s claims for lost earnings total
                                                                  3   approximately $101,347.20 ($63,158.40 lost wages + $38,188.80 front pay). At
                                                                  4   the time of her separation from employment, Plaintiff was classified to work 40
                                                                  5   hours per week and was paid an hourly rate of $48.00. (Declaration of Eliana
                                                                  6   Brown [“Brown Decl.”], ¶¶ 2-3). Plaintiff’s claim for lost wages from April 17,
                                                                  7   2018, her alleged date of separation, (Complaint ¶ 20.), through an estimated trial
                                                                  8   date of May 8, 2020 (approximately 1 year from the date the State Court Action
                                                                  9   commenced) would total approximately $205,440 ($48.00 per hour x 40 hours per
                                                                 10   week x 107 weeks). Plaintiff’s front pay, if calculated, for purposes of this analysis
                                                                 11   only, on a conservative assumption that the Court would award one year of pay in
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                                                                 12   the event liability was found, would total approximately $99,840 ($48.00 per hour x
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                                                                 13   40 hours per week x 52 weeks). Consequently, Plaintiff’s claims for lost earnings
                                                                 14   total approximately $305,280, well above the $75,000.00 threshold.
                                                                 15         14.    Emotional Distress Damages. Plaintiff also alleges that “severe and
                                                                 16   profound pain and emotional distress, anxiety, depression, headaches, tension, and
                                                                 17   other physical ailments,” and prays for damages to compensate for these alleged
                                                                 18   losses. (Complaint ¶¶ 22, 24, 33, 41; Prayer for Relief, p. 19, No. 1). Emotional
                                                                 19   distress damages may be considered when calculating the amount in controversy.
                                                                 20   Simmons v. PCR Tech., 209 F. Supp. 2d 1029, 1034 (N.D. Cal. 2002).
                                                                 21         15.    Punitive and Exemplary Damages. In addition, Plaintiff alleges that
                                                                 22   Defendant acted with oppression, fraud, malice, and/or conscious disregard of
                                                                 23   Plaintiff’s right, thus subjecting Defendant to punitive damages. (Complaint ¶¶ 17,
                                                                 24   26, 34, 42; Prayer for Relief, p. 19, No. 4). In determining the amount in
                                                                 25   controversy, a court “must consider the amount of actual and punitive damages.”
                                                                 26   Nasiri v. Allstate Indem. Co., 41 Fed. Appx. 76, 77 (9th Cir. 2002); see also Gibson
                                                                 27   v. Chrysler Corp., 261 F.3d 927, 946 (9th Cir. 2001) (stating that “[i]t is well
                                                                 28   established that punitive damages are part of the amount in controversy in a civil
                                                                                                                 6
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                                                                  1   action.”).
                                                                  2         16.    Civil Penalties. Here Plaintiff also allegedly seeks civil penalties
                                                                  3   recoverable on an individual basis under the California Labor and Health and
                                                                  4   Safety Codes that collectively total at least $45,000. (Complaint ¶¶ 62, 70, 83;
                                                                  5   Prayer for Relief, p. 19, Nos. 5-7).
                                                                  6         17.    Attorneys’ Fees. When the underlying substantive law provides for
                                                                  7   the award of attorneys’ fees, a party may include that amount in their calculation of
                                                                  8   the amount in controversy. Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1156 (9th
                                                                  9   Cir. 1998). The Court may take into account reasonable estimates of attorneys’ fees
                                                                 10   when analyzing disputes over the amount in controversy. See Brady v. Mercedes-
                                                                 11   Benz USA, Inc., 243 F.Supp.2d 1004, 1010-11 (N.D.Cal.2002). Plaintiff has sought
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                                                                 12   attorneys’ fees in the Complaint for her second causes of action. (Prayer for Relief,
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                                                                 13   p. 19, No. 8). They should therefore be included in analyzing the amount in
                                                                 14   controversy and would make it more likely than not that the amount in controversy
                                                                 15   exceeds $75,000, exclusive of interest and costs.
                                                                 16         18.    Total Amount in Controversy. Based on the discussion above, the
                                                                 17   amount in controversy based just on alleged compensatory damages (approximately
                                                                 18   $305,280), emotional distress damages, punitive damages, and attorneys’ fees is,
                                                                 19   more likely than not, in excess of $75,000. Plaintiff’s claims collectively make it
                                                                 20   facially plain that Plaintiff is seeking far more than the minimum amount, exclusive
                                                                 21   of interest and costs, needed to meet the amount in controversy requirement. See,
                                                                 22   e.g., Kroske v. U.S. Bank Corp., 432 F.3d 976, 980 (9th Cir. 2005) (finding, by
                                                                 23   preponderance of the evidence, that a complaint exceeded $75,000 where it sought
                                                                 24   damages for lost wages, benefits, 401(k) contributions, value of life insurance
                                                                 25   policies, stock options, emotional distress damages, and attorney’s fees and costs).
                                                                 26                         NOTICE OF REMOVAL IS TIMELY
                                                                 27         19.    Removal of a complaint from state court to federal court must be
                                                                 28   effected within 30 days from the first date from which it can be ascertained that
                                                                                                                7
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                                                                  1   federal subject matter jurisdiction exists. See, e.g., 28 U.S.C. § 1446(b). That
                                                                  2   statute provides in relevant part:
                                                                  3
                                                                            The notice of removal of a civil action or proceeding shall be filed
                                                                  4         within thirty days after the receipt by the defendant, through service or
                                                                            otherwise, of a copy of the initial pleading setting forth the claim for
                                                                  5         relief upon which such action or proceeding is based …
                                                                  6         If the case stated by the initial pleading is not removable, a notice of
                                                                            removal may be filed within thirty days after receipt by the defendant,
                                                                  7         through service or otherwise, of a copy of an amended pleading,
                                                                            motion, order or other paper from which it may first be ascertained
                                                                  8         that the case is one which is or has become removable ...
                                                                  9   Id. (emphasis added).
                                                                 10         20.    In this case, the Complaint was served on VITAS on May 9, 2019.
                                                                 11   Defendant ascertained upon the date of service that this case was removable.
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                                                                 12   Removal of this case to the Federal District Court is therefore appropriate and
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                                                                 13   timely pursuant to 28 U.S.C. section 1446(b). See, e.g., Hillberry v. Wal-Mart
                                                                 14   Stores East, L.P., 2005 U.S. Dist. LEXIS 15942 (W.D. Ky. Aug. 3, 2005).
                                                                 15                                        CONCLUSION
                                                                 16         21.    For all of the foregoing reasons, removal of this case to federal court is
                                                                 17   proper. This Court has original jurisdiction over this matter pursuant to 28 U.S.C.
                                                                 18   sections 1332(a) and 1441.
                                                                 19
                                                                 20   Dated: June 7, 2019                             HIRSCHFELD KRAEMER LLP
                                                                 21

                                                                 22                                                 By: /s/ Derek K. Ishikawa
                                                                                                                                Reed E. Schaper
                                                                 23                                                           Derek K. Ishikawa
                                                                                                                    Attorneys for Defendant
                                                                 24                                                 VITAS HEALTHCARE
                                                                                                                    CORPORATION OF CALIFORNIA
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                                                                                                                8
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